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 6   REGINALD THOMAS
 7
                                    UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9
                                          SACRAMENTO DIVISION
10

11   UNITED STATES OF AMERICA, )                              No. 2:11-cr-00216-MCE
                                )
12         Plaintiff,           )                             STIPULATION AND ORDER
                                )                             TO CONTINUE SENTENCING
13   vs.                        )
                                )
14   REGINALD THOMAS,           )
                                )
15         Defendant.           )
     __________________________ )
16

17          Defendant REGINALD THOMAS, by and through his attorney, Colin Cooper, the UNITED
18   STATES, by and through Assistant United States Attorney Matthew Morris, hereby stipulate and
19   agree to continue the sentencing in the above-captioned case set for February 27, 2014 to May 1,
20   2014, at 9:00 a.m.
21          The parties further stipulate and agree that the period from February 27, 2014 to May 1,
22
     2014, is excludable from calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161
23
     (h)(7)(iv) for the effective preparation of counsel.
24
            The requested continuance is not based on congestion of the Court’s calendar, lack of
25

26   diligent preparation on the part of the attorney for the government or the defense, or failure on the

27   part of the attorney for the government to obtain available witnesses. Under 18 U.S.C. Section
28
     3161(h)(7)(B)(iv) and local code T4, the delay results from a continuance granted by the Court at



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 1   the defendant’s request, with the agreement of the government, on the basis of the Court’s finding
 2
     that: (i) the delay will allow defense counsel reasonable time to prepare; and (ii) the ends of justice
 3
     served by the continuance outweigh the best interest of the public and defendant in a speedy trial.
 4

 5
     See Bloate v. United States, 130 S. Ct. 1345, 1357-58 (2011).

 6

 7   DATED: January 27, 2014                              /s/ COLIN L. COOPER
 8
                                                   Attorney for Defendant REGINALD THOMAS

 9

10
     DATED: January 27, 2014                              /s/ MATTHEW MORRIS
11                                                 Assistant United States Attorney

12

13

14
                                                    ORDER

15          GOOD CAUSE APPEARING, in that it is the stipulation of the parties: IT IS HEREBY
16
     ORDERED that the sentencing scheduled for February 27, 2014, at 9:00 a.m. is VACATED and the
17
     matter is set for sentencing on May 1, 2014, at 9:00 a.m. in Courtroom 7, and that the period from
18
     February 27, 2014 to May 1, 2014, is excludable from calculation under the Speedy Trial Act
19

20   pursuant to 18 U.S.C. §3161(h)(7)(B)(iv).

21          IT IS SO ORDERED.
22
     Dated: February 4, 2014
23

24

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26

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